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 TOMAS RIVERA                                                                                                                 DIVERSIFIED MACHINE SYSTErlsGc


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                                                                                                                                Attorneys rif Known)

 Patrick T1money. Devine Timoney Law Group, 600 W Germantown Pike
 Suite 400, Plymouth Meeting. PA 19462

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                          UNITED ST ATES DISTRICT COVRT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TOMAS RIVERA
10 KAREN DRIVE
                                                         CASE NO.:
MALVERN, PA 19355
          Plaintiff
                                                                        !9
       v.
                                                         JURY TRIAL DEMANDED
DIVERSIFIED MACHINE SYSTEMS INC
1068 ELKTON DRIVE
COLORADO SPRINGS, CO 80907
          Defendant                                                 COMPLAINT



       Plaintiff, Tomas Rivera, by and through u      rsigned counsel, hereby demands judgment

against the above-named Defendants, and states as ollows by way of complaint:

                                            PARTIES

       1.      Plaintiff, Tomas Rivera, is a citizen of the Commonwealth of Pennsylvania,

residing at 10 Karen Drive, Malvern, PA 19355.

       2.      At all times relevant hereto, Tomas Rivera was employed by McClarin Plastics

LLC., located at 15 Industrial Drive, Hanover, PA 17331.

       3.      Defendant Diversified Machine Systems Inc. (hereinafter "DMS") is a

corporation organized and existing under the laws of the State of Colorado with a principal place

of business at 1068 Elkton Drive, Colorado Springs, CO 80907.

       4.      OMS designs, manufactures, and sells three axis and five axis CNC routers and

machining centers which it offers for sale and/or distributes throughout the United States,

including to businesses located in the Commonwealth of Pennsylvania.

       5.      OMS is the successor corporation to a Texas Corporation with the same name,

Diversified Machine Systems Inc., (hereinafter "OMS Texas") located in Gainesville. Texas.
       6.     On or about December 27, 2007, DMS Texas was merged into DMS.

       7.     OMS, formerly DMS Texas, is the successor in interest to Motionmaster Inc, a

California Corporation that was dissolved on or about December 12, 2006.

       8.     At or about the time of its dissolution in 2006, substantially all of the assets,

business operations and employees of Motionmaster Inc. were transferred to DMS Texas and

were subsequently transferred from DMS Texas to DMS in of about December of 2007.

       9.     At or about the time of its dissolution in 2006, the website and customer lists of

Motionmaster Inc. were transferred to DMS Texas, and Subsequently from DMS Texas to DMS.

       10.    At of about the time of its dissolution in 2006 the product lines previously

manufactured and/or sold by Motionmaster Inc. were transferred to DMS Texas and

subsequently to DMS.

       11.    From that time that Motionmaster Inc. ceased business operations through to the

present, DMS Texas and then DMS have and continue to actively maintain and operate the

Motionmaster webpage at the web address "motionmaster.com."

       12.    From that time that Motionmaster Inc. ceased business operations through to the

present, DMS Texas and then DMS have represented and continue to represent to former

Motionmaster Inc. customers and to the public that it is "the official service provider for

Motionmaser machines."

       13.    DMS, by and through it employees has represented to Motiomaster machine

owners and to potential customers that the DMS product line is the successor to the

Motionmaster Inc. product line.
       14.     Motionmaster Inc. designed, manufactured and sold the subject 5 axis single table

CNC machine (hereinafter "the CNC') that caused injuries to the Plaintiff, Tomas Rivera with

the intention that the CNC would be used in Pennsylvania by companies located in Pennsylvania.

                                JURISDICTION AND VENUE

       15.     Jurisdiction is based on 28 U.S.C. § 1332(a)(l) as this action involves a

controversy between citizens of different states and the amount in controversy exceeds seventy-

five thousand dollars ($75,000.00), exclusive of interest and costs.

       16.     Venue is proper in this district based on 28 U.S.C. §139l(a) in that the Eastern

District of Pennsylvania is a where defendant OMS is subject to personal jurisdiction.

                                             FACTS

       17.     On April 23, 2013, at the request of his employer, McClarin Plastics LLC,

(hereinafter ..McClarin") Tomas Rivera was the assigned operator of the CNC machine at the

McClarin plant located at 15 Industrial Drive, Hanover, PA 17331.

        18.    At the time of the incident, Tomas Rivera was standing in close proximity to the

CNC when suddenly and unexpectedly he was struck in the head by the rotating bit on the head

of the CNC.

       19.     As a result of the foregoing incident, Tomas Rivera sustained severe and

permanent injuries, including but not limited to a holohemispheric subdural hematoma, left skull

fracture with midline shift and penetrating traumatic brain injury.

       20.     As a result of the foregoing incident, Tomas Rivera has incurred medical bills in

excess of $500,000 and Tomas Rivera and will continue to incur additional medical bills for the

foreseeable future.
       21.      As a result of the foregoing incident, Tomas Rivera is disabled from work, has

sustained lost wages and a loss of future earning capacity.

       22.      As a result of the foregoing incident, Tomas Rivera has endured extreme pain,

mental anguish, suffering and humiliation and will likely continue to experience pain, suffering,

mental anguish and humiliation in the future.

       23.      As a result of the foregoing incident, Tomas Rivera has suffered memory and

speech deficits which are likely to be permanent.

       24.      As a result of the foregoing incident, Toma<; Rivera has suffered permanent

scarring on his head.

       25.      As a result of the foregoing incident, Tomas Rivera has suffered a loss of life's

enjoyment and a loss of the ability to live independently and he will continue to suffer loss of

life's enjoyment and will require assistance in completing basic activities of daily living for the

foreseeable future.

                           COUNT I - NEGLIGENCE
              TOMAS RIVERA V. DIVERSIFIED MACHINE SYSTEMS INC.

       26.      Plaintiff incorporates herein by reference the allegations set forth in the above

paragraphs as though more fully set forth at length.

       27.      The incident described above was caused solely by the negligent and careless acts

of OMS, including, but not limited to the following:

             a. failing to design, manufacture and/or sell the CNC in a manner that would allow it

                to be operated safely during its normal and/or anticipated use and operation;

             b. designing, manufacturing and/or selling the CNC without any barrier or sensor to

                prevent the machine from operating when a person is within reach of the point of

                operation;
c. designing, manufacturing and/or selling the CNC without warnings and

     instructions concerning how to safely set up and run the machine to prevent the

     CNC from operating when a person is in close proximity to the point of operation;

d. designing manufacturing and/or selling the CNC without warnings and

     instructions concerning the size and shape and location of the zone of danger

     wherein an operator may be exposed to hazardous and life-threatening conditions

     posed by automatically functioning moving mechanical parts and that measures

     must be taken to prevent the machine from running when an individual is in the

     danger zone;

e. designing manufacturing and/or selling the CNC without warnings and

     instructions that the CNC lacked available safeguards to prevent the CNC from

     operating when a person is in close proximity to the CNC point of operation;

f.   designing, manufacturing and/or selling the CNC without a readily accessible

     emergency stop device to allow the operator to quickly stop the device in the

     event that the machine point of operation unexpectedly comes in close proximity

     to the operator or is otherwise in a position that is likely to cause harm or is

     causing harm to the operator;

g. designing, manufacturing and/or selling the CNC such that it deviated from

     standard industry design in that it did not include protective gates or pressure

     sensitive safety mats for the protection of people working in and around the

     machine;

h. failing to provide adequate instructions and warnings concerning the substantial

     risk of serious harm that could result during the normal operation of the CNC.
       28.     As a result of the negligence of Defendant OMS as successor to Motionmaster

Inc., Tomas Rivera suffered severe and permanent injuries as set forth more fully above.

       WHEREFORE, Tomas Rivera requests that judgment be entered in his favor and

against Diversified Machine Systems Inc. in an amount in excess of the arbitration limits of this

Court together with such interest, cost and fees as the Court may allow.

                        COUNT II - STRICT LIABILITY
             TOMAS RIVERA V. DIVERSIFIED MACHINE SYSTEMS INC.

      48.      Plaintiff incorporates herein by reference the allegations set forth the above

paragraphs as though more fully set forth at length.

      49.      The CNC was designed. manufactured and/or sold by Motionmaster Inc ..

      50.      Defendant OMS is the successor business to Motionmaster Inc.

      51.      The CNC was designed, manufactured and/or sold in an unreasonably dangerous

and defective condition in that it did not include any barrier or sensor to prevent the machine

from operating when a person is within reach of the point of operation.

      52.      The CNC was designed, manufactured and/or sold in an unreasonably dangerous

and defective condition in that did not include any warnings or instructions relating to how to set

up and/or run the CNC in a manner that would prevent the CNC from operating when a person is

in close proximity to the point of operation.

      53.      The CNC was designed, manufactured and/or sold in an unreasonably dangerous

and defective condition, including the following:

                  a. it did not include any warnings or instructions that the CNC lacked

                      available safeguards to prevent the CNC from operating when a person is

                      in close proximity to the CNC;
                 b. it did not include any warnings or instructions concerning the size and

                     shape of the zone of danger wherein an operator may be exposed to

                     hazardous and      life-threatening conditions posed by automatically

                     functioning moving mechanical parts and that measures must be taken to

                     prevent the machine from running when an individual is in the danger

                     zone;

                 c. the CNC lacked a readily accessible emergency stop device to quickly stop

                     the machine in the event that the point of operation unexpectedly comes in

                     close proximity to the operator or is otherwise in a position that is likely to

                     cause harm or is causing harm to the operator;

                 d. designing, manufacturing and/or selling the CNC such that it deviated from

                     standard industry design and safety features in that it did not include

                     protective gates or pressure sensitive safety mats for the protection of

                     people working in and around the machine;

                 e. failing to provide adequate instructions and warnings concernmg the

                     substantial risk of senous harm that could result during the normal

                     operation of the CNC and the availability of components that could

                     eliminate the risk of serious harm.

     54.      Tomas Rivera relied upon the Defendant to design, manufacture and/or sell the

CNC in a condition that was not defective and unreasonably dangerous and to provide sufficient

instructions and warnings to prevent serious injuries from occurring during the operation of the

machine as a result of the operator coming into contact with moving parts on the machine.
      55.      Due to its defective and unreasonably dangerous condition, the CNC was an

immediate hazard to persons operating or working in close proximity to the CNC

     56.       As a direct and proximate result of the defective and dangerous condition of

Defendant's product, Tomas Rivera sustained damages as set forth more fully above.

       WHEREFORE, Tomas Rivera requests that judgment be entered in his favor and

against DMS Manufacturing, LLC in an amount in excess of the arbitration limits of this Court

and such interest, cost and fees as the Court may allow.

                      COUNT III - BREACH OF WARRANTY
                   TOMAS RIVERA V. DMS MANUFACTURING LLC

      57.      Plaintiff incorporates herein by reference the allegations set forth in the above

paragraphs as though more fully set forth at length.

      58.      Motionrnaster Inc. expressly and/or impliedly warranted that the CNC was of

merchantable quality, fit, safe and in proper condition for the ordinary use for which the product

was designed and intended to be used.

      59.      In using the CNC, Tomas Rivera relied upon Defendant's skill and judgment and

implied warranty of merchantability as well as upon the express warranties made by the

defendant.

      60.      The CNC was not of merchantable quality and was unfit and unsafe for the

ordinary purposes for which it was intended.

      61.      By reason of the foregoing, Tomas Rivera suffered damages and losses as

described more fully above.
       WHEREFORE, Tomas Rivera requests that judgment be entered in his favor and

against DMS Manufacturing, LLC in an amount in excess o( the arbitration limits of this Court
                                                            r
and such interest, cost and fees as the Court may allow.



                                             DEVINE TIMONEY LAW GROUP

                                                           ·~
                                             BY:/~--------
                                                  PATRICK C. TIMONEY, ESQUIRE
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                                                  PLYMOUTH MEETING, PA 19462
                                                  610-400-1970
                                                  ptimoney@devinetimoney.com

 Dated: January 29, 2019
